                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

JOHN SCOTT MAAS                                                                    PLAINTIFF

VS.                                                                   CAUSE NO.: 2:20-cv-00051

BP EXPLORATION & PRODUCTION
INC. AND BP AMERICA PRODUCTION
COMPANY                                                                         DEFENDANTS

                                NOTICE OF SETTLEMENT

       COME NOW Defendants BP Exploration & Production Inc. and BP America Production

Company and provide notice to the Court that this case is resolved.

       Respectfully submitted this the 4th day of February 2022.


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                                BP Exploration & Production Inc.




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that pursuant to FED. R. CIV. P. 5(b), Local Rule 5.01, and Local

Rule 5.02 on February 4, 2022 a true and correct copy of the Notice of Settlement was served

upon Plaintiff’s counsel via the Court’s CM/ECF system:

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